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                               SO ORDERED: October 18, 2019.




                                 ______________________________
                                 James M. Carr
                                 United States Bankruptcy Judge




                                UNITED STATES BANKRUPTCY COURT
                                  SOUTHERN DISTRICT OF INDIANA
                                     INDIANAPOLIS DIVISION

IN RE:                                    )
                                          )
                                       1
ITT EDUCATIONAL SERVICES, INC., et al.    )                               Case No. 16-07207-JMC-7A
                                          )
      Debtors.                            )                               Jointly Administered
__________________________________________)
                                          )
DEBORAH J. CARUSO, as CHAPTER 7           )
TRUSTEE for ITT EDUCATIONAL               )
SERVICES, INC., ESI SERVICE CORP. and     )
DANIEL WEBSTER COLLEGE, INC.,             )
                                          )
                  Plaintiff,              )                               Adversary No. 18-50271
                                          )
      vs.                                 )
                                          )
UNITED STATES DEPARTMENT OF               )
EDUCATION,                                )
                                          )
                  Defendant.              )

                           ORDER GRANTING AGREED 5th MOTION
                       TO EXTEND STAY OF ADVERSARY PROCEEDING

         This matter came before the Court on the Agreed 5th Motion to Extend Stay of Adversary

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 The debtors in these cases, along with the last four digits of their respective federal tax identification numbers are
ITT Educational Services, Inc. [1311]; ESI Service Corp. [2117]; and Daniel Webster College, Inc. [5980].
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Proceeding (the “Motion”) [Doc 18], filed by Deborah J. Caruso, the chapter 7 trustee in the

above-referenced bankruptcy case and the plaintiff in this adversary proceeding (“Plaintiff”) and

the United States Department of Education (“Defendant”). 2

           The Court, having considered the Motion, and being otherwise duly advised in the

premises, determines that the Motion should be, and hereby is, GRANTED. Accordingly,

           IT IS THEREFORE ORDERED as follows:

           1.       The Motion is GRANTED in its entirety.

           2.       The stay as provided in the 4th Stay Order shall remain effective as of the date of

the filing of Plaintiff’s Adversary Complaint (“Complaint”) [Doc 1], and is extended to stay all

proceedings in this Adversary Proceeding, including without limitation the Court’s entry of a

scheduling order under Fed. R. Civ. P. 16, as incorporated by Fed. R. Bankr. P. 7016, and the

requirements imposed by Fed. R. Civ. P. 26, as incorporated by Fed. R. Bankr. P. 7026, until the

earlier of (i) thirty (30) days after either party has given written notice to the other party to

terminate pending settlement discussions, or (ii) 120 days from the entry of this Order.

           3.       While the stay is in effect, (a) the time period in which the Plaintiff may amend

the Complaint under Fed. R. Civ. P. 15(a)(1)(A), as made applicable by Bankr. R. 7015, shall be

tolled, and (b) the time period in which the Defendant must file a responsive pleading or a

motion with respect to the Complaint under Fed. R. Bankr. P. 7012 shall be tolled.

           4.       The Plaintiff shall not rely on the stay to oppose any motion by the Defendant to

withdraw the reference of the Adversary Proceeding.

           5.       The ED Deadline set forth in the ED Agreement shall be extended to 120 days

after entry of the Court’s order on the Motion.

           6.       Notwithstanding anything in this Order, the parties are permitted to seek jointly or
2
    Any capitalized term not defined herein shall have the meaning ascribed to it in the Motion.

                                                            2
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individually a further extension of the deadlines set forth in this Order.

       7.      Neither the Motion nor this Order eliminates, reduces or impairs any claims or

defenses by any party, including without limitation, Plaintiff’s rights to file an amended

complaint in accordance with Fed. R. Civ. P. 15, as made applicable by Fed. R. Bankr. P. 7015,

or Defendant’s rights to file a responsive pleading or other motion with respect to the Complaint

in accordance with Fed. R. Bankr. P. 7012.

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